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                EXHIBIT 54
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14    and OTTOMOTTO LLC

15                                 UNITED STATES DISTRICT COURT
16                              NORTHERN DISTRICT OF CALIFORNIA
17                                       SAN FRANCISCO DIVISION
18    WAYMO LLC,                                          Case No. 3:17-cv-00939-WHA
19                          Plaintiff,                    DEFENDANTS UBER
                                                          TECHNOLOGIES, INC. AND
20           v.                                           OTTOMOTTO LLC’S RESPONSES TO
                                                          WAYMO’S FIRST SET OF
21    UBER TECHNOLOGIES, INC.,                            EXPEDITED INTERROGATORIES
      OTTOMOTTO LLC; OTTO TRUCKING LLC,                   PURSUANT TO PARAGRAPH SIX OF
22                                                        THE MAY 11, 2017 PRELIMINARY
                            Defendants.                   INJUNCTION ORDER (NOS. 1-9)
23

24                                                        Trial Date: October 2, 2017
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     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
     Case No. 3:17-cv-00939-WHA                                                          1
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 1    RESPONSE TO INTERROGATORY NO. 2:

 2           Defendants object to this interrogatory as vague and ambiguous as to the meaning of “the

 3    date(s) they became Diligenced Employees.”

 4           Subject to and without waiving the general and specific objections above, Defendants

 5    respond as follows:

 6           The Diligenced Employees are:

 7                1. Anthony Levandowski

 8                2. Lior Ron

 9                3. Colin Sebern

10                4. Don Burnette

11                5. Soren Juelsgaard

12           These five individuals became Diligenced Employees on or around April 11, 2016.

13    INTERROGATORY NO. 3:

14           IDENTIFY all Uber Devices and Non-Uber Devices (as those terms are defined in

15    UBER00006444) that LEVANDOWSKI has used to access any of DEFENDANTS’ Networks

16    (as that term is defined in UBER00006444), or that LEVANDOWSKI could have used to access

17    any of DEFENDANTS’ Networks (as that term is defined in UBER00006444).

18    RESPONSE TO INTERROGATORY NO. 3:

19           Defendants object to this interrogatory because it implicates information protected by the

20    attorney-client privilege, the work-product doctrine, and the common-interest and joint-defense

21    privileges. Defendants further objects to this interrogatory to the extent it purports to require

22    expert opinion. Defendants further object to the interrogatory as vague, ambiguous, and

23    overbroad because it asks for the identity of any device that Levandowski “could have used” to

24    access Defendants’ networks, which is infinite in scope.

25           Subject to and without waiving the general and specific objections above, Defendants

26    respond as follows:

27            To Defendants’ knowledge, Mr. Levandowski used two devices to access Uber’s

28    networks:

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     Case No. 3:17-cv-00939-WHA                                                                           5
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 1                1. A MacBook Pro (15-inch, 2016) computer provided to Mr. Levandowski by Uber

 2                2. A personal MacBook Pro (not issued by Uber)

 3    INTERROGATORY NO. 4:

 4           Describe the ownership of TYTO and/or ODIN WAVE, INCLUDING the identity of all

 5    PERSONS with current or former ownership interests in TYTO and/or ODIN WAVE, that

 6    PERSON’s current or former ownership interest(s), and the agreements creating or modifying

 7    those ownership interests.

 8    RESPONSE TO INTERROGATORY NO. 4:

 9           Defendants object to this interrogatory to the extent it seeks information that is not known

10    or available to Defendants. Defendants further object to this interrogatory as seeking information

11    that is neither relevant to a party’s claims or defenses nor likely to lead to discovery of admissible

12    evidence.

13           Subject to and without waiving the general and specific objections above, Defendants

14    respond as follows:

15           Ottomotto LLC entered into an asset purchase agreement with Tyto Lidar, LLC (“Tyto”)

16    on May 5, 2016, in which Ottomotto LLC obtained certain enumerated assets from Tyto. That

17    agreement, including the corresponding exhibits and schedules, is being produced in response to

18    Waymo’s First Set of Expedited Document Requests. Ottomotto LLC was subsequently acquired

19    by Uber. Defendants understand that, at the time Ottomotto LLC entered into the asset purchase

20    agreement with Tyto, Tyto was a California Limited Liability Company, whose sole member was

21    the Sandstone Group, LLC, also a California Limited Liability Company. Defendants further

22    understand that Tyto was originally incorporated as Odin Wave, LLC, but changed its name to

23    “Tyto Lidar, LLC” on February 10, 2014.

24    INTERROGATORY NO. 5:

25           Describe all compensation (whether actual or conditional) discussed, conveyed or

26    promised by DEFENDANTS to LEVANDOWSKI at any time, INCLUDING (without

27    limitation) the DEFENDANT who discussed, conveyed or promised the compensation, the nature

28    of the compensation, the date the compensation was promised and/or conveyed, the amount of the

     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
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 1    Dated: June 5, 2017                          MORRISON & FOERSTER LLP

 2
                                                   By: /s/ Arturo J. González
 3                                                       ARTURO J. GONZÁLEZ
 4                                                 Attorneys for Defendants
                                                   UBER TECHNOLOGIES, INC.
 5                                                 and OTTOMOTTO LLC
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     DEFENDANTS’ RESPONSES TO WAYMO’S FIRST SET OF EXPEDITED INTERROGATORIES
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